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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                          District of Idaho
             Timtohy D. Semones
 In re       Susan C. Desko                                                                                   Case No.
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $          Hourly fees - see
                                                                                                                attached engagement
                                                                                                                                letter
             Prior to the filing of this statement I have received                                        $            40,000.00 (less
                                                                                                                pre-petition amounts)
             Balance Due                                                                                  $                       TBD

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 See attached engagement letter.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               See attached engagement letter.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 24, 2019                                                               /s/ Matt Christensen
     Date                                                                       Matthew T. Christensen 7213
                                                                                Signature of Attorney
                                                                                ANGSTMAN JOHNSON
                                                                                199 N. Capitol Blvd., Ste. 200
                                                                                Boise, ID 83702
                                                                                208-384-8588 Fax: 208-853-0117
                                                                                info@angstman.com
                                                                                Name of law firm




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